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                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                       Case No. 05-mj-082-02-JM

Luisa Cabrera


                   ORDER OF DETENTION PENDING TRIAL


     In accordance with Section 3142(f) of the Bail Reform Act,

18 U.S.C. §§ 3141 et seq., a hearing was conducted on July 19,

2005, for the purpose of determining whether to detain defendant.

Defendant is charged in a criminal complaint with violating 21

U.S.C. § 841(a)(1), possession of cocaine with the intent to

distribute it.

     Under 18 U.S.C. § 3142(b), a court, in making a

determination regarding detention, must evaluate the risk of the

defendant’s flight, the risk to the safety of any other person,

and the risk to the safety of the community.          In circumstances

when detention is not mandated by the court, the court is

nonetheless empowered to impose conditions on release.             18 U.S.C.

§ 3142(c).

     Pursuant to the provisions of 18 U.S.C. § 3142(g) a court,

in assessing the risks noted in 18 U.S.C. § 3142(b), shall
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consider the following: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence as to guilt;

(3) the history and characteristics of the accused, including

family ties, past history, financial resources and employment;

and (4) the nature and seriousness of the danger to any person or

the community that would be posed by a release.

     During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government typically retains the burden of

persuading the court that “‘no condition or combination of

conditions will reasonably assure’ the defendant’s presence at

trial.”   United States v. Perez-Franco, 839 F.2d 867, 870 (1st

Cir. 1988)(quoting United States v. Palmer-Contreras, 835 F.2d

15, 17-18 (1st Cir. 1987)); United States v. Patriarca, 948 F.2d

789, 793 (1st Cir. 1991).      For its part, the government is

required to offer clear and convincing evidence of dangerousness;

and a preponderance of the evidence to prove risk of flight.              See

Patriarca, 948 F.2d at 792-93.

     In specific instances, delineated in 18 U.S.C. § 3142(e), a

presumption arises that no condition or combination of conditions

will reasonably assure the appearance of a defendant and the

safety of the community.      Among the instances where a presumption


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arises is the situation where,

     the judicial officer finds that there is probable cause to
     believe that the person committed an offense for which a
     maximum term of imprisonment of ten years or more is
     prescribed in the Controlled Substances Act (21 U.S.C. 801
     et seq) . . . .

18 U.S.C. § 3142(e).

     In the case at hand, the complaint establishes probable

cause to believe that the offense charged has been committed and

that the defendant has committed it.        Further, the offense

charged against defendant is one for which a maximum term of

imprisonment is ten years or more, as prescribed in the

Controlled Substances Act, 21 U.S.C. §§ 801 et seq.             See United

States v. Dillon, 938 F.2d 1412, 1417 (1st Cir. 1991).              Thus,

Section 3142(e)’s rebuttable presumption that “no condition or

combination of conditions will reasonably assure [defendant’s]

appearance . . . and the safety of the community . . .” is

triggered in this case.       See 18 U.S.C. § 3142(e), (f); 21 U.S.C.

§ 841(b)(1)(C); see also United States v. Vargas, 804 F.2d 157,

162-63 (1st Cir. 1986).

     In order to counter the statutory presumption triggered, the

defendant must present evidence which demonstrates that “what is

true in general is not true in her particular case.”             United


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States v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985).             Notably,

the burden is one of production, not of persuasion.             Id. at 380-

81.

      Here, I find that the defendant has failed to rebut the

presumption with regard to risk of flight and danger to the

community.   Specifically, a large amount of cocaine was found in

her purse and in the car in which she was a passenger, suggesting

an ongoing role in drug distribution.

      The defendant here is precisely the type of individual

Congress envisioned when it established the statutory

presumption.    The legislative history reveals that, in

establishing the statutory presumption that “no condition or

combination of conditions will reasonably assure . . . the safety

of the community . . . ,” 18 U.S.C. § 3142(e), Congress

specifically had in mind defendants alleged to be involved in

drug trafficking: “The Committee also emphasize[d] that the risk

that a defendant will continue to engage in drug trafficking

constitutes a danger to the ‘safety of any other person or the

community.’”    S. Rep. No. 225, 98th Cong., 1st Sess. 13 (1983).

Congress has determined that “flight to avoid prosecution is

particularly high among persons charged with major drug


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offenses.”   S. Rep. No. 225, 98th Cong., 1st Sess. 20 (1983);

Jessup, 757 F.2d at 378.

     I do note that the hearing was based upon proffers and it

may be that additional investigation by counsel will warrant

further consideration.        Accordingly, detention is ordered without

prejudice to defendant filing a motion for release upon

conditions if further investigation warrants it.              I note that

defendant is a naturalized United States citizen; apparently has

no criminal record; her strong community ties in the Bronx, New

York, where she has lived for over sixteen years; and, perhaps of

some significance, it is suggested in the pretrial services

report that she is subject to legal guardianship over her legal

and financial affairs.

     Upon full consideration of the arguments offered by the

government and defense, on the current record, I am satisfied

that the defendant has not rebutted with any credible evidence

the presumption that she poses a serious risk of flight and a

danger to the community.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney


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        General or his designated representative for confinement in a

        corrections facility separate, to the extent practicable, from

        persons awaiting or serving sentences or being held in custody

        pending appeal.    The defendant shall be afforded a reasonable

        opportunity for private consultation with defense counsel.                On

        order of a court of the United States or on request of an

        attorney for the Government, the person in charge of the

        corrections facility shall deliver the defendant to the United

        States Marshal for the purpose of an appearance in connection

        with a court proceeding.

             SO ORDERED.

                                          /s/ Steven J. McAuliffe
                                          Steven J. McAuliffe
                                          Chief Judge

Date:    July 21, 2005

cc:      Robert J. Veiga, Esq., AUSA
         David Bownes, Esq.
         U.S. Marshal
         U.S. Probation




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